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                      UNITED STATES DISTRICT COURT


                    FOR THE DISTRICT OF CONNECTICUT


NATASHA MATELJEVIC                                CIVIL ACTION NO.
                                                  3:14-cv-557(AWT)
VS.


YALE UNIVERSITY                                   AUGUST 25, 2014

      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS


      The defendant, Yale University ("the University''), moves pursuant to

Federal Rule of Civil Procedure 12(b)(6) to dismiss the plaintiffs two-count

Complaint for retaliation in violation of 42 U.S.C. § 2000e-l et seq. and

retaliation in violation of General Statutes § 46a-60 et seq. The Counts are

based on claims that are untimely and no longer actionable; and they also fail

to state a prima facie case for retaliation. Accordingly, they must be dismissed

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for failure to

state claims upon which relief can be granted.

I.    Background and Procedural History

      A.    Factual Background

      The plaintiff, Natasha Mateljevic, alleges that in 2001, she came to the

University to obtain a graduate degree in Chemistry. Complaint, H 2. She then
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alleges that she met and became involved in a relationship with Raphael

Crespo, then an East Windsor, Connecticut police officer, who became abusive

and controlling. Id., K 3. She claims that he raped her on campus at gunpoint

in 2004 and that he was arrested for rape, abuse and kidnapping, convicted at

trial and sent to jail. Id,,   3-4.

      The plaintiff alleges that a "chain of retaliation" began in 2004, when she

came forward to report her rape, and continued thereafter. Id., ^ 6. She

claims that she was harassed, discriminated against and ultimately terminated

from employment at the University in retaliation for coming forward to report

rape and purportedly complaining about a hostile work environment to which

she was being subjected, and for the University's noncompliance with Title IX—

even though she simultaneously concedes that she never made any such

complaints. Id., n    19, 43, 49.

      The plaintiff alleges two Counts in her Complaint: (1) retaliation in

violation of Title VII, 42 U.S.C. 2000e-l et seq; and (2) retaliation in violation of
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the Connecticut Fair Employment Practices Act ("CFEPA"), General Statues §

46a-60.i


       B.      Procedural History

       On December 27, 2013, the plaintiff filed with the Connecticut

Commission on Human Rights and Opportunities ("CHRO") a complaint

alleging discrimination, harassment and retaliation in violation of the CFEPA

and Title VII, 42 U.S.C. 2000e-l et seq. See Affidavit of Kevin C. Shea in

Support of Motion to Dismiss ("Shea Affidavit")^, ^ 3. On March 5, 2014, the

CHRO dismissed the complaint for failure to state a claim because the

discriminatory acts alleged by the plaintiff did not fall within the 180 day filing




1In the first paragraph of the Complaint, the plaintiff states that, "[t]his is a tort action alleging
violation of Title IX of the Education Amendments Act of 1972, 20 U.S.C. §§ 1681 et seq."
However, the plaintiff fails to make any claim for damages for a violation of Title IX, or to even
allege a cause of action for a violation of Title IX. Because she has failed to state a prima facie
case for retaliation, as demonstrated infra at pp. 14-17, the Court should not even reach her
allegations that the University somehow violated her Title IX rights, which do not comprise a
cause of action here in any event.

2The Court may review Attorney Shea's affidavit in considering this Motion to Dismiss. See
Russell V. Yale University, 54 Conn. App. 573, 577 (1999) ("A motion to dismiss admits all facts
well pleaded and invokes any record that accompanies the motion, including supporting
affidavits that contain undisputed facts,")
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period.3 /d., T| 4. Subsequently, on January 24, 2014, the plaintiff brought a

complaint with the Equal Employment Opportunity Commission ("EEOC"),

alleging discrimination on the basis of sex and retaliation, which was dismissed

by the EEOC on January 28, 2014, as having not been timely filed, /d., KH 6-7.

II.     Legal Standard

        In ruling on a Motion to Dismiss, this Court is required to accept as true

all factual allegations in the complaint and must construe any well-pleaded

factual allegations in the plaintiffs favor. See Carter w. University of

Connecticut, 2006 WL 2130730 *1 (D. Conn. 2006) (Underhill, J.) (copies of

unreported decisions attached hereto in alphabetical order), affd, 264 F. App'x

111 (2d Cir. 2008). In addition to the four comers of the Complaint, this Court

is also permitted to consider documents that are referenced in or integral to the

Complaint as well as matters that are subject to judicial notice. See Chambers

V. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002); Leonard F. v. Israel

Discount Bank of New York, 199 F.3d 99, 107 (2d Cir. 1999). When a claim

includes allegations that are time-barred, it is appropriate to dismiss the


3 On March 14, 2014, CHRO Principal Attorney Charles Krich issued an order stating that
reinstatement of the complaint was denied because the complaint was properly dismissed.
Shea Affidavit, TI 5.
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untimely claims. See e.g., (granting motion to partially dismissed ADEA and

Title VII claims that contain time-barred allegations)

Fed R. Civ. P. 12fbU6)


      "A motion to dismiss is properly granted when it is clear that no relief

could be granted under any set of facts that could be proved consistent with

the allegations. A motion to dismiss must be decided on the facts as alleged in

the complaint. All facts in the complaint are assumed to be true and are

considered in the light most favorable to the non-movant." See Shanks v.

Walker, 116 F. Supp. 2d 311, 313 (D. Conn. Aug. 21, 2000) (Internal quotation

marks omitted.) (granting motion to dismiss claim for the negligent infliction of

emotional distress). To survive a Motion to Dismiss pursuant to Federal Rule

of Civil Procedure 12(b)(6), "[a] complaint must do more . . . than offer naked

assertions devoid of further factual enhancement, and a court is not bound to

accept as true a legal conclusion couched as a factual allegation." Rahman v.

Fischer, 2010 WL 1063835 at *3 (S.D.N.Y. March 22, 2010) [Cote, J.). In

addition, the United States Supreme Court addressed the adjudication of a

Motion to Dismiss in Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,

1949 (2009), where it held that, "[t]o survive a motion to dismiss, a complaint
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must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face." (Internal quotation marks omitted.)

III.   Argument

       A.    The plaintiffs Title VII claim set forth in the First Count is time-
             barred because she failed to file a timely charge with the EEOC.

       Under Title VII, a claimant may bring suit in federal court only if she has

filed a timely complaint with the EEOC and obtained a right-to-sue letter. See

42 U.S.C. § 2000e-5(e) and Legnaniv. Alitalia Linee Aeree Italiane, S.P.A, 274

F.3d 683, 686 (2d Cir. 2001). Further, "[e]xhaustion of administrative remedies

through the EEOC is 'an essential element' of the Title VII . . . statutory

schemes and, as such, a precondition to bringing such claims in federal court."

Id.


       As the Second Circuit Court has held, "as a general matter, the failure to

exhaust administrative remedies is a precondition to bringing a Title VII claim

in federal court, rather than a jurisdictional requirement." Francis v. City of

New York, 235 F.3d 763, 768 (2d Cir. 2000); see also Id. at 767, quoting Zipes

V. Trans World Airlines, Inc., 455 U.S. 385, 102 S.Ct. 1127 (1982) ("[FJiling a

timely charge of discrimination with the EEOC is not a jurisdictional
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prerequisite to suit in federal court, but a requirement that, like a statute of

limitations, is subject to waiver, estoppel, and equitable tolling."). While the

parties or the court may waive this precondition, such a waiver has neither

been made by the University nor is it appropriate for the Court to declare here.

Indeed, the plaintiff has loosely alleged purported discrimination and

retaliation dating back to 2004. Clearly it is not timely or proper for her to

raise these claims ten years later. Further, the plaintiff has not alleged—

because she cannot—any actions on the part of the University that might toll

the statute of limitations. Moreover, though not a jurisdictional requirement,

the Court has held that the requirement that a claimant file a timely charge

with the EEOC "stands as an essential element of Title VII's statutory scheme, .

. . and one with which defendants are entitled to insist that plaintiffs comply."

(Citation omitted.) Id. The Court should, therefore, dismiss this Title VII claim

where the plaintiff failed to comply with an "essential element'"^ of the Title VII

statutory scheme.




 It bears emphasis that the plaintiff has not alleged that she filed a CHRO or an EEOC
complaint, let alone that she filed timely complaints with these agencies.
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      Courts have recognized an exception to this rule, permitting the pursuit

of claims not asserted before the EEOC in a subsequent federal lawsuit when

the claims are reasonably related to those filed with the EEOC. Legnani, supra,

274 F.3d at 686. This exception is not applicable in the present case, however,

because the plaintiff failed to file a timely charge with the EEOC, as confirmed

by the dismissal of the plaintiffs complaint with the EEOC. See dismissal

attached as Exhibit C to Shea Affidavit. In Kelly v. American Medical Response,

Inc., 2009 WL 2450730 (Conn. Super. July 7, 2009) (Licari, J.), the plaintiff filed

a six-count complaint against his former employer. The defendant moved to

dismiss two counts alleged pursuant to CFEPA on the ground that the plaintiff

failed to file timely a complaint with the CHRO. Id. at *1.

      In Kelly, the plaintiff argued that his complaint with the CHRO was

timely filed because he concurrently filed a complaint with the EEOC. Id. at *2.

The Court considered the federal case law cited by the plaintiff, including

Javier, supra, to determine whether the CFEPA counts could "relate back" to

the complaints alleged in his EEOC complaint. The Court ultimately

determined that the case law did not inform its decision because timely CHRO

and EEOC complaints were filed in the federal cases cited by the plaintiff,




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whereas the plaintiff in Kelly failed to file a timely CHRO complaint. Id. at *3.

The Court further held that, "[i]n order for the 300-day period to be applicable

to federal claims, the aggrieved party must first initiate 'proceedings with a

State or local agency with authority to grant or seek relief from such practice,'

such as the CHRO. See 42 U.S.C. § 2000e-5(e)(l). Suchfiling must be timely"

(Emphasis added.) Id. at *4. The Court ultimately dismissed the two CFEPA

counts based on its analysis.

       In the present case, the plaintiff likewise failed to file a timely complaint

with the EEOC, as confirmed in the EEOC's decision dismissing the plaintiffs

claim. See Dismissal, attached as Exhibit C to Shea Affidavit. As such, there

are no timely-filed claims to which the plaintiffs claims in the present lawsuit

can relate back, and the exception does not apply.

       The plaintiff has failed to comply with an essential precondition to

asserting a claim pursuant to Title VII by failing to file a timely charge with the

EEOC.5 As such, she should be precluded from asserting that claim here, and


5 Pursuant to 42 U.S.C. 2000e-5(e)(l), "in a case of an unlawful employment practice with
respect to which the person aggrieved has initially instituted proceedings with a State or local
agency with authorily to grant or seek relief from such practice or to institute criminal
proceedings with respect thereto upon receiving notice thereof, such charge shall be filed by or
on behalf of the person aggrieved within three hundred days after the alleged unlawful
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it should be dismissed. See Hewitt v. New York City Dept. ofHealth and Mental

Hygiene, 535 Fed. Appx. 44, 45 (2d. Cir. 2013) (Second Circuit upheld

dismissal of plaintiffs discrimination complaint, holding that, "[a]s a

precondition to filing an action in federal court under Title VII of the Civil

Rights Act of 1964 ("Title VII"), a litigant must first have exhausted her

administrative remedies by timely filing a charge of discrimination with the

Equal Employment Opportunity Commission ("EEOC").").

       B.     The plaintiffs CFEPA claim set forth in the Second Count is time-
              barred because she failed to file a timely charge with the CHRP.

       CFEPA specifies that an individual who has "timely filed a complaint with

the Commission on Human Rights and Opportunities" regarding an alleged

discriminatory practice "and who has obtained a release from the commission .

. . may also bring an action in the superior court for the judicial district in

which the discriminatory practice is alleged to have occurred." See General

Statutes § 46a-100. These are mandatory prerequisites with which a claimant

employment practice occurred." The plaintiff filed her complaint with the EEOC on January
24, 2014. As such, the latest date on which she could have alleged discrimination was March
31, 2013, and she does not. She alleges that she "endured retaliation" "from 2004 when Ms.
Mateljevic was a graduate student to 2012." Complaint, If 41. Further, she alleges that she
was told on December 11, 2012 that she did not have a job next year. Id., TI 36. The plaintiff
failed to allege siny act of discrimination after March 31, 2013, and her EEOC claim was
therefore untimely.




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must comply prior to filing a lawsuit. Indeed, the Court has held that, "[t]he

words of [General Statutes §§ 46a-100 and 46a-101] are not ambiguous and

there is little need to look beyond their plain meaning to recognize that they

permit an aggrieved complainant to sue in the Superior Court but circumscribe

the right to sue by imposing mandatory preconditions." (Internal quotation

marks omitted.) Brightly v. Abbott Terrace Health Centers, Inc., 2001 WL

256228 at *2 (Conn. Super. Feb. 27, 2001) (Rogers, J.),

      Connecticut courts have held that,

      while compliance with § 46a-82(e) is "mandatory," a complainant's failure
      to do so does not deprive the commission of subject matter jurisdiction.
      Williams v. Commission on Human Rights and Opportunities, 257 Conn.
      258, 284, 777 A.2d 645 (2001). The court explained that "if a time
      requirement is deemed to be mandatory, it must be complied with,
      absent such factors as consent, waiver or equitable tolling ... [T]hus the
      commission could properly dismiss [a complaint] if it was not filed within
      180 days of the alleged act of discrimination." (Emphasis in original.) Id.
      The trial courts in this and the federal arena have extended this
      conclusion to judicial actions premised on CFEPA, that is, they have
      determined that courts also can properly decline to consider allegations
      that occurred more than 180 days before the date that the plaintiff filed a
      complaint with the CHRO.

Tosado V. State, 2007 WL 969392 at *2 (Conn. Super. March 15, 2007) {Gilardi,

J.). In the present case, this Court should decline to consider the plaintiffs

CFEPA count, as all of her allegations occurred more than 180 days prior to




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the date the plaintiff filed a complaint with the CHRO, as is confirmed by the

CHRO's dismissal of the plaintiffs complaint as untimely.® See Dismissal,

attached as Exhibit A to Shea Affidavit. Further, the plaintiffs Complaint

reveals that she has loosely alleged purported discrimination and retaliation

dating back to 2004.

       Moreover, neither waiver nor equitable tolling applies here. First, the

University has not waived the defense that the plaintiffs CFEPA claim is

untimely. Second, the plaintiff has not alleged—because she cannot—any

actions on the part of the University that might toll the statute of limitations.

As such, the Court should determine that the plaintiffs CFEPA claim is time-

barred. See Kahnv. Fairfield University, 357 F.Supp.2d 496, 503 (D. Conn,

2005) (Hall, J.) (Court granted summary judgment with respect to plaintiffs

CFEPA claim, holding "[w]hile the 180 day time requirement for filing a

discrimination petition pursuant to § 46a-82 (e) is not jurisdictional, but


6 General Statutes § 46a-82(f) provides that, "[a]ny complaint filed pursuant to this section
must be filed within one hundred and eighty days after the alleged act of discrimination." The
plaintiff filed her complaint with the CHRO on December 27, 2013. As such, the latest date on
which she could have alleged discrimination was July 1, 2013, and she does not. She alleges
that she "endured retaliation" "from 2004 when Ms. Mateljevic was a graduate student to
2012." Complaint, ^41. Further, she alleges that she was told on December 11, 2012 that
she did not have a job next year. Id., H 36. The plaintiff failed to allege any act of
discrimination after July 1, 2013, and her CHRO claim was therefore untimely.




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rather, is subject to waiver and equitable tolling, . . . neither waiver nor

equitable tolling applies in the instant case. The University has not waived the

defense. Furthermore, Kahn has not alleged, let alone come forward with

evidence of, any actions by the University that might result in tolling of the

statute of limitations. Thus, Kahn's claims pursuant to the CFEPA are time-

barred.") (citation omitted; internal quotation marks omitted.). Because the

plaintiff failed to comply with the mandatory prerequisites set forth in General

Statutes §§ 46a-100 and 46a-101, the Court should dismiss her CFEPA claim

as untimely.

      As with Title VII claims, however, the Court has carved out an exception

to this rule by permitting a plaintiff to assert in a lawsuit claims that are

"'reasonably related' to those in the complaint filed with the CHRO." See

Ghaly, M.D. v. Simsarian, et al, 2009 WL 801636 at * (D. Conn. March 26,

2009) (Thompson, J.), citing Javier v. Deringer-Ney, Inc., 578 F.Supp.2d 368,

372 (D. Conn. 2008). This exception to the rule does not apply here, however,

where the underlying CHRO claim was not timely filed, as confirmed by the

dismissal of the plaintiffs complaint with the CHRO. See Dismissal attached

as Exhibit A to Shea Affidavit. The University incorporates its analysis as set




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forth above at pages 8-10. Because this exception does not apply, the Court

should dismiss the plaintiffs CFEPA claim as untimely. See Kahn v. Fairfield

Universityy supra, 357 F.Supp.2d at 503.

       C.     The plaintiff has failed to state a claim under either CFEPA or Title
              VII because she has failed to allege that she engaged in any
              protected activity.

       In order to establish a case for retaliation for opposing a discriminatory

employment practice under CFEPA or Title VII, the plaintiff must show that:

(1) she participated in a protected activity; (2) the defendant knew of the

protected activity; (3) an adverse employment action was taken against her;

and (4) a causal connection between the protected activity and the adverse

employment action. Ayantola v. Board of Trustees of Technical Colleges, 116

Conn. App 531, 536 (2009); Gordon v. New York City Board ofEducation, 232

F.3d 111, 113 (2000).7 Here, the plaintiff fails on at least the first prong, as

she has failed to allege that she engaged in any protected activity.



7 It also bears emphasis that the United States Supreme Court recently addressed the proper
causation standard for retaliation claims. Based on its extensive statutory analysis of the
antiretaliation provision in Title VII, the Court confirmed that such claims "require proof that
the desire to retaliate was the but-for cause of the challenged employment action." (Emphasis
added.) University of Southwestern Medical Center v. Nassar, supra, 133 S.Ct. at 2528. This is
a standard the plaintiff is undoubtedly unable to meet if the Court ultimately considers the
substance of her retaliation claims.




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      The Court has defined a "protected activity" as follows:

      To establish that his activity is protected under Title VII, a plaintiff need
      not prove the merit of his underlying discrimination complaint, but only
      that he was acting under a good faith, reasonable belief that a violation
      existed. . . . In addition to protecting the filing of formal charges of
      discrimination, § 704(a)'s opposition clause protects as well informal
      protests of discriminatory employment practices, including making
      complaints to management, writing critical letters to customers,
      protesting against discrimination by industry or by society in general,
      and expressing support of co-workers who have filed formal charges.

(Citations omitted.) Sumnerv. U.S. Postal Serv., 899 F.2d 203, 209 (2d Cir.

1990).

      In her Complaint, the plaintiff has failed to allege that she engaged in

any protected activity, period. The sole "complaint" she claims to have made to

the University is her report in 2004 about her allegedly having been raped by a

man, unaffiliated with the University, with whom she was involved. See

Complaint, 1|1|5,6, 17, 18. Even if the plaintiff did report to University

personnel the fact that she was allegedly raped, her making this report does

not constitute protected activity, as she made no charges—formal or informal—

of any unlawful discriminatory activity on the part of the University in

connection with her rape.




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      Moreover, she specifically alleged that she did not complain about any

alleged "hostile academic and work environment" to which she was purportedly

subjected when she was a first year graduate student. Complaint, H 19. She

also alleges that in April 2011, several University students filed a complaint

with the Department of Education's Office for Civil Rights alleging violations of

students' rights under Title IX but does not claim that she had any involvement

with that complaint. Id., K 33.

      The plaintiff does summarily allege that she was retaliated against "in

response to her complaints about the hostile work environment to which she

was being subjected" and "for coming forward to report rape and complaining

about the hostile work environment to which she was being subjected, and for

Yale University's noncompliance with Title IX." Complaint, HH 41, 43, 49. As

set forth above, however, the plaintiff has failed to allege any facts to support

her claims that she made complaints about a supposed hostile work

environment or for the University's purported noncompliance with Title IX. In

fact, she is careful to note that she did not complain about the alleged hostile

work environment and that merely "Yale students" complained about

noncompliance with Title IX.




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      Additionally, as set forth above, her report about her having been raped

by a man with whom she was involved and who had absolutely no affiliation

with the University did not constitute a protected activity under Title VII or

CFEPA. As such, without more to substantiate these summary allegations, the

plaintiff has not met her burden of showing the first element of a prima facie

case of retaliation under CFEPA and Title VII, namely, involvement in a

protected activity, and both counts for retaliation should be dismissed. See

Loosv. Club Paris, LLC, 684 F.Supp.2d 1328, 1334 (M.D. Fl. 2010) ("Here,

Plaintiff has not alleged any facts indicating participation in a protected activity

such as testifying, assisting, or participating in any investigation, proceeding,

or Title VII litigation for which she endured an adverse employment action. . . .

Without more, the conclusory allegation of gender discrimination and

retaliatory action ^because of her opposition to Club Paris' unlawful

employment practices' is insufficient for a prima facie case.").

IV.   Conclusion

      The plaintiffs two-count Complaint should be dismissed here based on

both the untimeliness of the claims asserted in the First and Second Counts

and their failure to state claims upon which relief can be granted. The plaintiff




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is attempting to bring an action involving events that occurred as far back as

2004, which is simply improper under both Title VII and CFEPA, particularly

where both her CHRO and EEOC charges were dismissed as untimely.

Because both her EEOC and CHRO complaints were dismissed as untimely,

the Court should not entertain her claims here, which are based on the claims

asserted in those complaints. In addition, the plaintiff has failed to allege any

protected activity whatsoever. While she goes to great lengths to allege the

countless ways in which she believes she was wronged during her tenure as a

graduate student and an employee at the University, she has failed to allege

any point at which she complained to the University of this purported wrongful

treatment. Accordingly, she has failed to demonstrate the first required

element of a claim for retaliation under both Title VII and CFEPA. For the

reasons set forth more fully above, the Court should dismiss the plaintiffs

Complaint in its entirety.




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                                      THE DEFENDANT




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CERTIFICATION:


      This is to certify that a copy of the foregoing has been sent to all required

notification parties either via operation of the Courtis electronic notification

system or by first-class mail, postage pre-paid to anyone unable to accept such

notification on this 23J;h day of August 2014.




      DEN     86 SHEA, LLC




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